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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,

           Plaintiff,

   v.                                                   No. 3:18-cv-00017-NKM-JCH
   ALEXANDER E. (ALEX) JONES, et al.,

                   Defendants.



                                    STIPULATION ANDORDER

          WHEREAS, Plaintiff Brennan Gilmore (“Gilmore”) sued Defendant Derrick Wilburn

  (“Wilburn”) for defamation in connection with Wilburn’s authorship of “BOMBSHELL: New

  evidence suggests Charlottesville was a complete SET-UP” on August 19, 2017;

          WHEREAS, Wilburn admits that Gilmore was not involved in a set-up or in any other way

  with the August 2017 Unite the Right rally in Charlottesville and the terrorist attack that killed

  Heather Heyer;

          WHEREAS, Wilburn does not contest Gilmore’s allegation of defamation;

          WHEREAS, the parties desire to amicably resolve all claims arising out of this action;

          WHEREAS, in lieu of damages, Wilburn agrees to make a donation of $2,000 to the Legal

  Aid Justice Center;

          WHEREAS, Gilmore and Wilburn, having entered into a settlement agreement, hereby

  stipulate to the entry of an order in this action, as follows:
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                 IT IS ORDERED, ADJUDGED, AND DECREED as follows:

           1.    This Court has jurisdiction over the subject matter of the above action and has

  personal jurisdiction over the parties for purposes of this action and as set forth in Paragraph 3

  below.

           2.    Wilburn admits that he is liable for the claims asserted by Gilmore in this action.

           3.    As a condition of settlement, Wilburn has agreed to make a charitable donation of

  $2,000 to the Legal Aid Justice Center.

           4.    The parties agree that this Court will retain jurisdiction to enforce the terms of the

  parties’ settlement agreement and to enforce and resolve any disputes related thereto, if necessary.

           5.    This action and all defenses thereto are hereby dismissed with prejudice and

  without costs, disbursements, or attorneys’ fees to any party.



      /s/ __Hassen A. Sayeed_____________              /s/    Derrick Wilburn
   Jonathan D. Hacker, admitted pro hac vice           Derrick Wilburn, pro se
   Anwar L. Graves, admitted pro hac vice
   O’MELVENY & MYERS LLP
   1625 Eye Street, N.W.
   Washington, DC 20006
   Telephone: (202) 383-5300
   Facsimile: (202) 383-5414
   agraves@omm.com
   jhacker@omm.com




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   Hassen A. Sayeed, admitted pro hac vice
   O’MELVENY & MYERS LLP
   Times Square Tower
   7 Times Square
   New York, New York 10036
   Telephone: (212) 326-2000
   Facsimile: (212) 326-2061
   hsayeed@omm.com

   Andrew Mendrala, Virginia Bar No. 82424
   COHEN MILSTEIN SELLERS & TOLL
   PLLC
   1100 New York Avenue N.W., Fifth Floor
   Washington, D.C. 20005
   Telephone: (202) 408-4600
   Facsimile: (202) 408-4699
   amendrala@cohenmilstein.com

   Aderson Francois, admitted pro hac vice
   CIVIL RIGHTS CLINIC
   GEORGETOWN UNIVERSITY LAW
   CENTER
   600 New Jersey Avenue, N.W.
   Washington, D.C. 20001
   Telephone: (202) 662-9065
   Aderson.Francois@georgetown.edu

   Elizabeth B. Wydra, admitted pro hac vice
   Brianne J. Gorod, admitted pro hac vice
   CONSTITUTIONAL ACCOUNTABILITY
   CENTER
   1200 18th Street, N.W., Suite 501
   Washington, D.C. 20036
   Telephone: (202) 296-6889
   elizabeth@theusconstitution.org
   brianne@theusconstitution.org

   Attorneys for Plaintiff

                             SO ORDERED this _WK__ day of _-XQH___________, 2021.



                                             _______________________________
                                             NORMAN K. MOON
                                             SENIOR UNITED STATES DISTRICT JUDGE



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